
73 So.3d 319 (2011)
Justin SAFFERFIELD, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-4597.
District Court of Appeal of Florida, First District.
October 25, 2011.
Justin Safferfield, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition for writ of mandamus, to the extent it challenges pretrial actions by counsel and the trial judge, is premature because those issues can be raised on appeal from final judgment. The petition is therefore denied in part. Insofar as the petition complains of former counsel's failure to provide petitioner with records upon request, the petition is also denied but without prejudice to petitioner's right to seek relief in circuit court. See Dumas v. *320 Marrero, 864 So.2d 531 (Fla. 5th DCA 2004).
PETITION DENIED.
THOMAS, ROBERTS, and CLARK, JJ., concur.
